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UNITED STATES DISRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________
UNITED STATES OF AMERICA,
                                                    STATEMENT OF DEFENDANT WITH
             vs.                                    RESPECT TO SENTENCING FACTORS
                                                    22 CR 186
MICHAEL ANGSTENBERGER

                            DEFENDANT

_____________________________________


      Dominic Saraceno, affirms under penalty of perjury that:

      1.     I am a duly licensed attorney, admitted to practice in the Western District of New
             York.

      2.     I represent the defendant in the above-entitled action brought by the United States
             of America.

      3.     I make this affirmation in accordance with the requirements of Section 6A1.2 of
             the Sentencing Guidelines, “Statement of Defendant with Respect to Sentencing
             Factors,” as promulgated by the United States Sentencing Commission.

      4.     In accordance with those rules, it is hereby stated on behalf of the defendant that I
             have reviewed the Presentence Report and have discussed the same with Michael
             Angstenberger. There are no statements, conclusions or other information
             contained in the report which the defendant disputes.


             Dated: November 10, 2023                      Respectfully Submitted,

                                                           s/ Dominic Saraceno

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